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                                        #:7702



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                              UNITED STATES DISTRICT COURT
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          CENTRAL DISTRICT OF CALIFORNIA (WESTERN DIVISION - LOS
11
                                        ANGELES)
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13    BEYOND BLOND PRODUCTIONS, LLC, CASE NO.: 2:20-cv-05581-DSF-GJSx
14    a California limited liability company;
15                                           Honorable Dale S. Fischer
                 Plaintiff,
16
                 vs.                       ORDER GRANTING BEYOND
17
                                           BLOND’S NOTICE OF EX PARTE
18    EDWARD HELDMAN III, an individual; APPLICATION AND EX PARTE
19    COMEDYMX, INC., a Nevada corporation;APPLICATION TO AMEND
      COMEDYMX, LLC, a Delaware limited SCHEDULING ORDER TO
20                                         CONTINUE DATES BY THREE
      liability company; and DOES 1-10;
21                                         MONTHS
22                 Defendants.
                                           Date: N/A
23                                         Time: N/A
24                                         Courtroom: 7D

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                                          #:7703


               Plaintiff Beyond Blond Productions, LLC’s Ex Parte Application to Amend the
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          Scheduling Order and Continue dates by three months was filed on March 3, 2025.
2
           Based on the papers filed in support of, and in opposition to the Application, and
3
      GOOD CAUSE BEING SHOWN, the Court hereby ORDERS that:
4
5          The new deadlines are set forth in the Scheduling Order chart attached to this
6     Order.
7          All deadlines established by the prior Civil Trial Order [Dkt. 390] are hereby
8     VACATED.
9
10    Dated: March 13 , 2025
                                                               bl Dale
                                                        Honorable     l S. Fischer
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11                                                      United States District Judge
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     Case 2:20-cv-05581-DSF-GJS      Document 416   Filed 03/13/25   Page 3 of 3 Page ID
                                           #:7704



1     DISTRICT JUDGE DALE S. FISCHER AMENDED SCHEDULE OF PRETRIAL
2                                     AND TRIAL DATES
3
4     Matter                                 Time   Weeks Plaintiffs’     Court Order
                                                    Before Request
5
                                                    Trial
6     Trial                               8:30             October        October 28, 2025
7                                         am               28, 2025
      Pretrial Conference, LR 16; Hearing 3:00      4      September       September 29, 2025
8     on Motions in Limine (Monday)       pm               29, 2025
9     Trial Documents (Set Two)                     6      September      September 17, 2025
                                                           17, 2025
10
      Trial Documents (Set One)                     7      September      September 10, 2025
11                                                         10, 2025
12    Last day to conduct ADR                       12     August 6,      August 6, 2025
      Proceeding, LR 16-15                                 2025
13    Last day to hear motions (except              14     July 21,
14    motion to amend pleadings or add                     2025           July 21, 2025
15    parties and motions in limine), LR 7
      (Monday)
16    Non-expert Discovery Cut-off                  21+      June 2,       June 2, 2025
17                                                           2025
      Expert Disclosure (initial)                            April 7,
18                                                                         April 7, 2025
                                                             2025
19    Expert Disclosure (rebuttal)                           May 5,
                                                             2025         May 5, 2025
20
      Expert Discovery Cut-off                      21+      June 2,
21                                                                        June 2, 2025
                                                             2025
22    Last day to hear motion to amend              32+      March 17,    March 17, 2025
      pleadings or add parties (Monday)                      2025
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